Case 2:23-cv-00120-JRS-MG Document 1-7 Filed 03/16/23 Page 1 of 6 PageID #: 97




                        Exhibit 6
                  Engelbrecht Agreement
Case 2:23-cv-00120-JRS-MG Document 1-7 Filed 03/16/23 Page 2 of 6 PageID #: 98
Case 2:23-cv-00120-JRS-MG Document 1-7 Filed 03/16/23 Page 3 of 6 PageID #: 99
Case 2:23-cv-00120-JRS-MG Document 1-7 Filed 03/16/23 Page 4 of 6 PageID #: 100
Case 2:23-cv-00120-JRS-MG Document 1-7 Filed 03/16/23 Page 5 of 6 PageID #: 101
Case 2:23-cv-00120-JRS-MG Document 1-7 Filed 03/16/23 Page 6 of 6 PageID #: 102
